     Case 3:22-cv-01754-JFS-PJC      Document 46     Filed 02/27/25   Page 1 of 2




                IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 David J. Catanzaro,                        :   Civil Action – Law
                                            :
                       Plaintiff,           :   Case No.: 3:22-CV-01754
                                            :
               v.                           :   Judge Joseph F. Saporito
                                            :   Judge Phillip J. Caraballo
 Lykart Technologies LLC, et al.,           :
                                            :
                     Defendants.            :      JURY TRIAL DEMANDED


                AMENDED CERTIFICATE OF CONCURRENCE


        The undersigned hereby certifies that counsel for Defendant Poshmark, Inc.

contacted Plaintiff regarding Plaintiff’s concurrence with the foregoing motion.

Plaintiff concurs in the requested relief


                                    Respectfully submitted,


 Date: February 27, 2025            /s/ Bridget E. Montgomery
                                    Bridget E. Montgomery, Esquire (PA ID 56105)
                                    ECKERT SEAMANS CHERIN & MELLOTT, LLC
                                    213 Market Street, 8th Floor
                                    Harrisburg, PA 17101
                                    (T): 717.237.6054
                                    (F): 717.237.6019
                                    bmontgomery@eckertseamans.com

                                    Counsel for Defendant Poshmark, Inc.



120162844.1
     Case 3:22-cv-01754-JFS-PJC       Document 46      Filed 02/27/25   Page 2 of 2




                           CERTIFICATE OF SERVICE

        I certify that on this 27th day of February, 2025, I served a copy of the

foregoing AMENDED CERTIFICATE OF CONCURRENCE upon all counsel

and parties of record via this Court’s electronic filing system and/or Electronic

Mail, which service satisfies the requirements of the Federal Rules of Civil

Procedure.



                                            /s/ Bridget E. Montgomery
                                            Bridget E. Montgomery, Esquire

                                            Counsel for Defendant Poshmark, Inc.




120162844.1
